Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 1 of 38 PageID# 904



                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF VIRGINIA
                           Newport News Division

 UNITED STATES OF AMERICA

 v.                                                 Criminal No. 4:20cr1

 JAMAR GREEN,

              Defendant.


                                OPINION AND ORDER

         This matter is before the Court on pro se Defendant Jamar

 Green’s (“Defendant”) “Motion to Dismiss No. 2.”                ECF No. 69.       The

 Motion seeks dismissal of the indictment primarily on speedy trial

 grounds.      For the reasons discussed below, the Court DENIES the

 Motion.

               I. FACTUAL BACKGROUND AND PROCEDURAL HISTORY

         On July 17, 2018, Defendant was charged with conspiracy to

 distribute     and   possess    with     intent   to    distribute      controlled

 substances     (21   U.S.C.    §§ 841,    846)    and   use    of   a   firearm    in

 furtherance of a drug trafficking crime (18 U.S.C. § 924(c)(1)) in

 a multi-defendant, second superseding indictment returned in Case

 No. 4:17cr111.1      No. 4:17cr111, ECF No. 180.              On August 3, 2018,

 an arrest warrant was executed, and Defendant, who was serving a

 term of imprisonment with the Virginia Department of Corrections,

 was brought before this Court pursuant to a writ of habeas corpus



 1   Including Defendant, the indictment named nine defendants.
Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 2 of 38 PageID# 905



 ad prosequendum.     No. 4:17cr111, ECF Nos. 197, 199, 220, 221.            The

 Court determined that Defendant qualified for court-appointed

 counsel and appointed Criminal Justice Act Panel attorney (“CJA

 attorney”) Timothy J. Quick.        No. 4:17cr111, ECF Nos. 220, 222.

       On August 8, 2018, Defendant appeared for a detention hearing

 and arraignment.     No. 4:17cr111, ECF No. 231.         During the hearing,

 Mr. Quick moved to withdraw due to a conflict of interest.                  The

 Court granted the motion and continued the detention hearing and

 arraignment    to   August   10,   2018.      In   the   interim,   the   Court

 appointed CJA attorney Andrew Behrns to represent Defendant.

       At the August 10, 2018 detention hearing and arraignment,

 Defendant waived his right to an immediate detention hearing,

 pleaded not guilty, and requested a trial by jury.            No. 4:17cr111,

 ECF Nos. 234, 236.      Due to the complexity of the case and in the

 interest of justice, the Court, pursuant to 18 U.S.C. § 3161(h)(7),

 set a trial date of April 30, 2019, well outside the statutory

 seventy-day speedy trial period.           No. 4:17cr111, ECF No. 234; see

 18 U.S.C. § 3161(c)(1), (h)(7).             The parties concurred in the

 Court’s judgment that the complexity of the case warranted a trial

 date outside the speedy trial period.

       On October 10 and 11, 2018, the Court received pro se letter

 motions from Defendant stating that he wanted to “re-invoke [his]

 speedy trial time clock” given that the complexity of the case

 “ha[d] nothing to do with [him],” and requesting that the Court

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Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 3 of 38 PageID# 906



 appoint new counsel.     No. 4:17cr111, ECF Nos. 261, 262.        Mr. Behrns

 subsequently filed a motion to withdraw as Defendant’s counsel,

 indicating that Defendant refused to meet with him at Western

 Tidewater Regional Jail (“WTRJ”), where Defendant is being held,

 to discuss the case.      No. 4:17cr111, ECF No. 264.         The Court held

 a hearing on the three motions on November 5, 2018.           No. 4:17cr111,

 ECF No. 274.       During the hearing, Defendant conferred with Mr.

 Behrns and agreed to withdraw his motion for new counsel2; but

 Defendant persisted in his objection to a trial date outside the

 speedy trial period.       The Court noted Defendant’s objection but

 reaffirmed its finding that the case was complex pursuant to 18

 U.S.C. § 3161(h)(7) and preserved the original trial date of April

 30, 2019.    Id.    On February 8, 2019, Defendant filed another pro

 se letter motion seeking to remove Mr. Behrns as his attorney,

 which   Defendant    withdrew   approximately    one   week    later.    No.

 4:17cr111, ECF Nos. 301, 305.

       On March 12, 2019, the Government filed a third superseding

 indictment in the case, expanding the timeframe of the underlying

 drug conspiracy and naming a new defendant.3           No. 4:17cr111, ECF



 2Mr. Behrns likewise withdrew his motion to withdraw as Defendant’s counsel.
 No. 4:17cr111, ECF No. 274.
 3 Despite the addition of a defendant, the third superseding indictment
 named a total of eight defendants. Before the Government returned the third
 superseding indictment, one of the defendants named in the second
 superseding indictment entered into a plea agreement with the Government
 and another was dismissed from the case. See No. 4:17cr111, ECF Nos. 269,
 341.

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Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 4 of 38 PageID# 907



 No. 314.      This indictment further charged additional offenses

 against certain defendants, including a third offense against

 Defendant for attempted witness tampering (18 U.S.C. § 1512).4 Id.

       Less than a week later, Mr. Behrns filed a motion to withdraw

 as counsel.    No. 4:17cr111, ECF No. 336.       In the motion, Mr. Behrns

 indicated that he had received multiple letters from Defendant

 wherein     Defendant      expressed       concerns   with    Mr.   Behrns’

 representation and stated that he no longer wished to communicate

 with Mr. Behrns.     Id.    Although Mr. Behrns attempted to meet with

 Defendant to address these concerns, Defendant reportedly refused

 to meet with him.    Id. Given this breakdown in their relationship,

 the Court granted the motion to withdraw on March 19, 2019, No.

 4:17cr111, ECF No. 339, and appointed CJA attorney Adam Carroll.

       On March 25, 2019, one of Defendant’s co-defendants, Alex

 Burnett, who the Government later described as the “primar[y]”

 target of its investigation, No. 4:17cr111, ECF No. 400, at 5:19-

 10:13, moved for a continuance due to a substitution of counsel

 two weeks prior and such counsel’s need for time to review the

 nearly three terabytes of discovery in the case.             No. 4:17cr111,

 ECF Nos. 342, 343.      The Court granted the continuance the same day

 but reserved the previous April 30, 2019 trial date for a status

 conference with the parties and their counsel to discuss a new



 4 This indictment also modified Defendant’s § 924(c) charge as to the date
 and location of the alleged crime. Id.

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Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 5 of 38 PageID# 908



 trial    date.        No.   4:17cr111,   ECF    No.    344.    At     that    status

 conference,      Defendant’s      counsel      relayed    to   the    Court     that

 Defendant “would like a Speedy Trial,” but Mr. Carroll also stated

 that he personally did not “have any particular issues” with a

 continuance and that a trial within the timeframe desired by

 Defendant “may not be necessarily possible” due to the substantial

 amount of discovery in the case – even though such discovery dealt

 primarily with other defendants.             No. 4:17cr111, ECF No. 400, at

 32:14-33:1.      After giving counsel for each party an opportunity to

 speak, the Court set a new trial date of January 7, 2020.                        No.

 4:17cr111, ECF Nos. 355; 400, at 37:10-11.                Defendant thereafter

 mailed a pro se letter objecting to the new trial date on speedy

 trial grounds.        No. 4:17cr111, ECF No. 356.

       On October 8, 2019, Defendant, with the assistance of counsel,

 filed a motion to proceed pro se.               No. 4:17cr111, ECF No. 376.

 After conducting a hearing, the Court denied the motion by written

 Order on October 16, 2019, finding that “Defendant’s invocation of

 his     right    to    self-representation       was     not   made    expressly,

 knowingly, and intelligently.”           No. 4:17cr111, ECF Nos. 380, 381.

 Mr. Carroll then filed a motion to withdraw as counsel on October

 21, 2019, stating that his efforts to meet and review discovery

 with Defendant were unavailing.           No. 4:17cr111, ECF No. 383.            The

 Court held another hearing and denied the motion to withdraw by




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Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 6 of 38 PageID# 909



 written Order on November 5, 2019.                No. 4:17cr111, ECF Nos. 395,

 396.

        On January 6, 2020, one day before trial was set to begin,

 the Government moved to dismiss the third superseding indictment

 against Defendant without prejudice.                  No. 4:17cr111, ECF No. 488.

 The Court granted the motion on the same day prior to receiving a

 response from Defendant.              No. 4:17cr111, ECF No. 489.          Two days

 later, the Government re-indicted Defendant in the instant case

 (4:20cr1)     through      a     stand-alone          indictment    charging    only

 Defendant.    ECF No. 1.         In addition to the three offenses charged

 in   the   third   superseding         indictment       in   Case   No.   4:17cr111,

 Defendant is now charged with a second attempted witness tampering

 offense,    possession         with    intent    to    distribute     a   controlled

 substance (21 U.S.C. § 841(a)(1)), and obstruction of justice (18

 U.S.C. § 1503).      Id.        The Government’s decision to dismiss the

 third superseding indictment in Case No. 4:17cr111 and re-indict

 Defendant in the present case came shortly after one of Defendant’s

 co-defendants, Alex Burnett, reached a plea agreement with the

 Government    on   January       2,    2020,    and    reportedly    provided   both

 incriminating      and   exonerating           information    to    the   Government

 concerning Defendant.5 No. 4:17cr111, ECF Nos. 400, at 5:19-10:13;

 480; 481; 492, at 3.


 5 Several other co-defendants also entered into plea agreements with the
 Government in the months leading up to the dismissal of the third superseding
 indictment against Defendant in January 2020.

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Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 7 of 38 PageID# 910



        Defendant,   through    counsel,     filed    an   objection    to   the

 dismissal without prejudice and moved the Court to convert the

 dismissal into one with prejudice.             No. 4:17cr111, ECF Nos. 492,

 493.     The Court denied the motion, finding that “there [was] no

 ‘case’    or   ‘controversy’    presently      pending”   in   light   of   the

 dismissal.     No. 4:17cr111, ECF No. 495, at 4.          However, the Court

 further went on to explain that because there was “no indication

 of bad faith on the part of the Government,” the Court had no

 discretion to deny the Government’s motion to dismiss without

 prejudice.     Id. at 1-2.     The Court explicitly informed Defendant,

 although, that he could “challenge the Court’s decision to dismiss

 the indictment without prejudice at a later stage should [he]

 subsequently be convicted of the charges that were dismissed.”

 Id. at 5 n.2.

        On January 9, 2020, Defendant came before the Court for his

 initial appearance, arraignment, and detention hearing on the

 instant indictment.        ECF No. 4.          At the hearing, the Court

 reappointed Mr. Carroll, and Defendant waived his right to an

 immediate detention hearing, pleaded not guilty, and requested a

 trial by jury, which was scheduled for February 18, 2020.                   Id.

 Over the next week and a half, Defendant mailed several pro se

 letters styled as motions and notices.              ECF Nos. 9 to 18.       The

 Court    struck   the   improper   pro    se    motions   as   Defendant    was




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Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 8 of 38 PageID# 911



 represented by counsel.6        ECF Nos. 16, 19; see United States v.

 Hammond, 821 F. App’x 203, 207 (4th Cir. 2020) (unpublished) (“[A]

 district court is under no obligation to consider a defendant’s

 pro se motion when he is represented by counsel.”).

       On    January   22,   2020,   Mr.   Carroll   moved   to   withdraw    as

 Defendant’s counsel.        ECF No. 20.         In his motion, Mr. Carroll

 stated that he had met with the Government to review new discovery

 materials and in the process discovered that another client in an

 unrelated case “is a material and necessary witness” regarding the

 newer attempted witness tampering charge against Defendant.                 Id.

 at 1.      The Court granted the motion at a hearing on January 30,

 2020, and appointed CJA attorney Scott Hallauer.            ECF No. 35.     Mr.

 Hallauer, with Defendant’s full support, moved for a continuance

 and requested a four-week extension of the discovery deadline,

 both of which the Court granted.          Id.   The parties agreed to a new

 trial date of May 12, 2020.

       With the arrival of the COVID-19 pandemic, the undersigned

 Chief Judge     issued a District-wide Order on March 13, 2020,

 suspending all criminal jury trials for approximately one month.

 No. 2:20mc7, ECF No. 2.         The Court issued additional Orders in

 April, May, and June 2020, ultimately suspending criminal jury




 6 Defendant filed several pro se motions and notices in Case No. 4:17cr111
 as well.

                                       8
Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 9 of 38 PageID# 912



 trials through September 14, 2020.7             No. 2:20mc7, ECF Nos. 12, 16,

 20.

        Shortly after the Court’s March 13, 2020 Order, Defendant

 mailed a letter to the Court directed at Mr. Hallauer, expressing

 his displeasure with Mr. Hallauer’s representation and asking him

 to    withdraw    as    counsel.    ECF       No.   47.    Mr.   Hallauer   heeded

 Defendant’s request and moved to withdraw on April 9, 2020.                   ECF

 No. 51.       In that motion, Mr. Hallauer represented that, despite

 his best efforts, Defendant refused to communicate with him.                  Id.

 As    such,      Mr.    Hallauer   believed         that   the   attorney/client

 relationship had broken down beyond repair. Id. While that motion

 was pending, Defendant filed two motions to proceed pro se.                   ECF

 Nos. 56, 58.           The Court held a hearing on July 23, 2020, and

 granted all three motions.            ECF Nos. 61, 62.             However, over

 Defendant’s objection, the Court directed that Mr. Hallauer remain

 in the case as standby counsel to help facilitate Defendant’s

 review of the voluminous discovery materials.                ECF No. 61.

        In August 2020, Defendant received a new trial date of October

 6, 2020.      However, as explained in this Court’s previous Order,

 WTRJ, where Defendant is currently being held, experienced a COVID-

 19 outbreak in September.          ECF No. 96.       In light of that outbreak



 7As stated below, these Orders were accompanied by ends-of-justice findings,
 excluding the corresponding delay under the Speedy Trial Act, which the
 Court specifically finds applicable to the facts of this case for the reasons
 stated in such Orders. See 18 U.S.C. § 3161(h)(7).

                                           9
Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 10 of 38 PageID# 913



  and the fact that Defendant, now proceeding pro se, had not yet

  had the opportunity to review all relevant discovery, the Court

  attempted to conduct a remote video conference hearing to address

  the matter with Defendant.       However, Defendant indicated that he

  would not consent to the hearing shortly after it began, thus

  bringing the video conference hearing to an abrupt end.             ECF No.

  95.   Therefore, the Court issued an Order on October 2, 2020,

  continuing trial to January 4, 2021, the earliest available date

  for   a   courtroom    retrofitted        for   mid-pandemic    trials    and

  approximately twenty-nine months after Defendant was arraigned on

  the second superseding indictment in Case No. 4:17cr111.8           ECF No.

  96.

                               II. DISCUSSION

        Defendant’s   Motion   seeks   dismissal     on   five   grounds:   (1)

  violation of the Speedy Trial Act; (2) violation of the Sixth

  Amendment right to      a speedy trial; (3) unnecessary delay in

  bringing Defendant to trial, pursuant to Federal Rule of Criminal

  Procedure 48(b)(3); (4) judicial estoppel; and (5) the absence of

  an “injured party.”    ECF No. 69.    The Court addresses each in turn.




  8 The Court indicated, however, that Defendant’s trial will occur sooner if
  an opening becomes available, Defendant has reviewed all relevant discovery
  materials, and Defendant has had sufficient opportunity to prepare for
  trial. ECF No. 96.

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Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 11 of 38 PageID# 914



                             A. Speedy Trial Act

         Title 18, section 3161 of the United States Code requires

  that

       the trial of a defendant charged in an information or
       indictment with the commission of an offense shall
       commence within seventy days from the filing date (and
       making public) of the information or indictment, or from
       the date the defendant has appeared before a judicial
       officer of the court in which such charge is pending,
       whichever date last occurs.9
  18 U.S.C. § 3161(c)(1). However, the statute excludes from this

  seventy-day period any period of delay associated with certain

  events.     For example, § 3161(h)(7) excludes any period of delay

  resulting from a continuance granted by a judge based on “findings

  that the ends of justice served by [continuing the case] outweigh

  the best interest of the public and the defendant in a speedy

  trial.”10   Id. § 3161(h)(7)(A).     Among the enumerated factors that

  a court may consider in determining whether to grant such a

  continuance    are   (1)   “[w]hether    the   failure   to   grant   such   a

  continuance in the proceeding would . . . result in a miscarriage



  9 The Supreme Court clarified that “the date the defendant has appeared
  before a judicial officer of the court in which such charge is pending” is
  the date of the arraignment. United States v. Tinklenberg, 563 U.S. 647,
  650 (2011); see also United States v. Lynch, 726 F.3d 346, 352 (2d Cir.
  2013) (stating that arraignment constituted defendant’s “first appearance”
  for speedy trial purposes); United States v. Young, 528 F.3d 1294, 1295
  (11th Cir. 2008) (“The Speedy Trial Act requires that criminal defendants
  be tried within seventy days of the later of indictment or arraignment.”
  (citing 18 U.S.C. § 3161(c)(1))).
  10In such circumstances, however, the judge must “set forth, in the record
  of the case, either orally or in writing, its reasons for finding that the
  ends of justice served by the granting of such continuance outweigh the best
  interests of the public and the defendant in a speedy trial.”            Id.
  § 3161(h)(7)(A).

                                      11
Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 12 of 38 PageID# 915



  of justice”; (2) “[w]hether the case is so unusual or so complex,

  due to the number of defendants [or] the nature of the prosecution,

  . . . that it is unreasonable to expect adequate preparation for

  pretrial proceedings or for trial itself within the [applicable]

  time limits”; and (3) “[w]hether the failure to grant such a

  continuance . . . would deny counsel for the defendant or the

  attorney for the Government the reasonable time necessary for

  effective preparation, taking into account the exercise of due

  diligence.”    Id. § 3161(h)(7)(B)(i)-(ii), (iv).

        Also excluded from the seventy-day period are any periods of

  delay    “resulting    from   proceedings      concerning        the   defendant,”

  including the filing of any pretrial motions.                   Id. § 3161(h)(1).

  More specifically, the statute excludes “delay resulting from any

  pretrial    motion,    from   the   filing     of   the    motion      through   the

  conclusion of the hearing on, or other prompt disposition of, such

  motion,”    id.   § 3161(h)(1)(D),        as   well   as    “delay      reasonably

  attributable to any period, not to exceed thirty days, during which

  any     proceeding    concerning    the    defendant       is    actually    under

  advisement by the court,” id. § 3161(h)(1)(H).                  The Supreme Court

  clarified the interplay of these two provisions in Henderson v.

  United States, 476 U.S. 321 (1986), noting a critical distinction

  between the Speedy Trial Act’s treatment of pretrial motions that

  require a hearing and those that do not.              As neatly summarized by

  the Fourth Circuit,

                                        12
Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 13 of 38 PageID# 916



       [w]here a hearing is required, subparagraph ([D])
       excludes the entire period from the filing of the motion
       to the conclusion of the hearing on that motion,
       regardless of whether any delay in holding the hearing
       was “reasonably necessary.” Once the court has held the
       hearing and received any post-hearing submissions from
       the parties that it needs for proper disposition of the
       motion, the court takes the motion “under advisement”
       and subparagraph ([H]) excludes up to 30 additional days
       thereafter, up to and including the date on which the
       court finally disposes of the motion. If the pretrial
       motion requires no hearing, [subparagraph] ([D])
       excludes the period from the filing of the motion to the
       time the court receives all the papers it reasonably
       expects. Once the court has received the papers, the
       motion “is actually under advisement” and subparagraph
       ([H]) excludes up to 30 additional days thereafter, up
       to and including the date on which the court finally
       disposes of the motion.11

  United   States   v.   Parker,    30    F.3d   542,    546    (4th    Cir.   1994)

  (footnotes   omitted)    (citing       Henderson,     476    U.S.    at   326-31).

  Notably,   for    purposes   of   § 3161(h)(1),       a     motion   to   dismiss

  predicated on a Speedy Trial Act violation “is treated as any other

  pretrial motion.”      United States v. Stoudenmire, 74 F.3d 60, 63

  (4th Cir. 1996).

       Of particular import in this case, the Speedy Trial Act also

  takes into account “the well-established principle that defendants

  who are charged in the same criminal conspiracy should be tried

  together.”    United States v. Reavis, 48 F.3d 763, 767 (4th Cir.

  1995); accord United States v. Ford, 88 F.3d 1350, 1361 (4th Cir.

  1996) (“For reasons of efficiency and judicial economy, courts


  11 Prior to 2008, the statutory language now appearing in § 3161(h)(1)(D)
  and § 3161(h)(1)(H) appeared in § 3161(h)(1)(F) and § 3161(h)(1)(J),
  respectively. See Pub. L. No. 110-406, 122 Stat. 4294.

                                         13
Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 14 of 38 PageID# 917



  prefer to try joint-conspirators together.”); see also United

  States v. Shealey, 641 F.3d 627, 633 (4th Cir. 2011) (“[T]here is

  a preference in the federal system for joint trials of defendants

  who are indicted together.” (quoting Zafiro v. United States, 506

  U.S. 534, 537 (1993))).      Indeed, the Act explicitly excludes from

  the speedy trial period “[a] reasonable period of delay when the

  defendant is joined for trial with a codefendant as to whom the

  time for trial has not run and no motion for severance has been

  granted.”      18   U.S.C.   § 3161(h)(6).      In   other   words,    “time

  excludable for one defendant is excludable for all defendants.”12

  United States v. Jarrell, 147 F.3d 315, 316 (4th Cir. 1998) (citing

  18 U.S.C. § 3161(h)([6])).        As such, “[a]ll defendants who are

  joined for trial generally fall within the speedy trial computation

  of the latest codefendant.” Henderson, 476 U.S. at 323 n.2 (citing

  18 U.S.C. § 3161(h)([6])); see also United States v. Dixon, 542 F.

  App’x 273, 278 (4th Cir. 2013) (unpublished per curiam) (finding

  that defendant’s speedy trial clock began anew with superseding

  indictment that named additional defendants); United States v. Van



  12Moreover, courts ordinarily will not grant a severance merely because one
  defendant is ready to proceed to trial before his codefendants. See, e.g.,
  United States v. Curanovic, No. 1:17cr404, 2017 WL 4402452, at *2-3 (E.D.N.Y.
  Oct. 2, 2017) (recognizing the “strong” preference for joint trials of
  defendants indicted together and stating that “[s]peedy trial concerns
  generally will not suffice as a standalone basis for severance”); United
  States v. Dodt, No. 3:15cr213, 2019 WL 452772, at *2 (W.D.N.C. Feb. 5, 2019)
  (stating that “defendant’s argument that he is now ready [for trial] and
  will not receive a fair trial unless the Court provides him with a trial
  immediately after he [is prepared to proceed] is of little persuasive
  value”).

                                       14
Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 15 of 38 PageID# 918



  Smith, 530 F.3d 967, 972 (D.C. Cir. 2008) (“The Speedy Trial Act

  excludes delay attributable to resetting a defendant’s speedy

  trial clock upon the addition of a co-defendant so that the

  government    will   not   be   forced    to   choose   between   prosecuting

  defendants separately and violating the Speedy Trial Act.”).

       Aside from reasonable delay attributable to co-defendants, it

  is also important to note the implications of additional charges

  brought after the speedy trial period has already commenced.               As

  a general matter, where a criminal defendant has been charged and

  is awaiting trial, and the government thereafter either returns a

  superseding    indictment       or   re-indicts     the    defendant    after

  dismissing the previous indictment without prejudice, any offenses

  charged in the new indictment that were also charged in the

  previous indictment do not receive a new speedy trial period.13

  See Young, 528 F.3d at 1296 (“[N]either the filing of a superseding

  indictment, nor the dismissal of an original indictment followed

  by the filing of a new indictment, resets the speedy-trial clock

  [for offenses charged in the original indictment].” (citing 18

  U.S.C. § 3161(h)([5]))); United States v. King, 483 F.3d 969, 972

  (9th Cir. 2007) (“[T]he filing of a superseding indictment will

  not automatically reset the [Speedy Trial Act] clock where the new


  13 Although, if the government elects the latter course, the Speedy Trial
  Act expressly excludes “any period of delay from the date the charge was
  dismissed to the date the time limitation would commence to run as to the
  subsequent charge had there been no previous charge.”          18 U.S.C.
  § 3161(h)(5).

                                       15
Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 16 of 38 PageID# 919



  indictment does not charge a new crime, but only corrects a defect

  in the original indictment.”); United States v. Osteen, 254 F.3d

  521, 525-26 (4th Cir. 2001) (“When an indictment is dismissed on

  the government’s motion, and the defendant is thereafter re-

  indicted on identical charges, the seventy-day Speedy Trial Act

  period is calculated from the date of the first arraignment.”

  (citing 18 U.S.C. § 3161(h)([5]))).               Such a rule ensures that the

  government does not “circumvent[] the speedy trial guarantee.”

  United States v. Bermea, 30 F.3d 1539, 1567 (5th Cir. 1994).

       Conversely,     to    the    extent    the    superseding     or    subsequent

  indictment charges new offenses that double jeopardy principles do

  not require to be joined with the original charges, see King, 483

  F.3d at 972; United States v. Marshall, 935 F.2d 1298, 1302 (D.C.

  Cir. 1991), a new speedy trial period commences, but only as to

  those new charges.        See United States v. Thomas, 726 F.3d 1086,

  1090 (9th Cir. 2013) (holding that new, distinct charges “stand on

  their own and are subject to a new timing period” under the Speedy

  Trial Act); United States v. Alford, 142 F.3d 825, 829 (5th Cir.

  1998) (“We see no logical basis for concluding that, when the

  government chooses to add in a superseding indictment charges that

  it is not required to join with the charges contained in the

  original indictment, it must bring the defendant to trial on the

  added charges within the time period remaining on the speedy trial

  clock   applicable    to    the    charges        contained   in   the    original

                                         16
Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 17 of 38 PageID# 920



  indictment.”); United States v. Lattany, 982 F.2d 866, 872 n.7 (3d

  Cir. 1992) (“If the subsequent filing charges a new offense that

  did not have to be joined with the original charges, then the

  subsequent   filing    commences   a    new,   independent     speedy   trial

  period.”).

        That is not to say that speedy trial periods associated with

  new charges are not themselves subject to tolling.             For example,

  an ends-of-justice continuance granted after the government has

  brought new charges would operate to toll both the original speedy

  trial clock and the new speedy trial clock.             See United States v.

  Hale, 685 F.3d 522, 537-38 (5th Cir. 2012).             Similarly, a tolling

  event arising prior to and remaining in effect at the time the

  government brings new charges likewise tolls the speedy trial

  period for the new charges.      See, e.g., United States v. Gonzales,

  897 F.2d 1312, 1316-17 (5th Cir. 1990) (“The motions pending on

  the original charges toll the running of the speedy-trial clock

  for the new charges, regardless of when the clock begins to run

  for   the   new   charges.”   (citing    18    U.S.C.    § 3161(h)(1)([B]),

  ([D]))); United States v. Fabian, 798 F. Supp. 2d 647, 673 (D. Md.

  2011) (“Although various cases state that a superseding indictment

  that adds new charges restarts the speedy trial clock with respect

  to the new charges, that does not necessarily mean that a court’s

  prior determination that excluding time under the Act serves the

  ‘ends of justice’ does not apply to new counts charged in a

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Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 18 of 38 PageID# 921



  superseding indictment.” (citations and internal quotation marks

  omitted)).    The Fourth Circuit has also held that because “joining

  multiple offenses against a single defendant is analogous to

  joinder of defendants” under 18 U.S.C. § 3161(6), any reasonable

  delay stemming from joinder of offenses should also be excluded

  “in order to end the 70-day period simultaneously for all counts,”

  in accordance with “the traditional rules of severance.”            United

  States v. Carey, 746 F.2d 228, 231 (4th Cir. 1984).

       In the event of a violation of the Speedy Trial Act, the court

  “shall” dismiss the “information or indictment on motion of the

  defendant.”    18 U.S.C. § 3162(a)(2).      Whether the indictment must

  be dismissed with prejudice or without prejudice, however, is a

  separate inquiry and turns on consideration of the factors outlined

  in § 3162(a)(2): “the seriousness of the offense; the facts and

  circumstances of the case which led to the dismissal; and the

  impact of a reprosecution on the administration of this chapter

  and on the administration of justice.”            Id. § 3162(a)(2); see

  United States v. Williams, 665 F. App’x 290, 292-93 (4th Cir. 2016)

  (unpublished per curiam) (“Neither type of dismissal is ‘the

  presumptive remedy for a Speedy Trial Act violation.’” (quoting

  United States v. Taylor, 487 U.S. 326, 332-35 (1988))).

                           1. Case No. 4:17cr111

       As stated above, Defendant was first named in a second

  superseding indictment on July 17, 2018, in Case No. 4:17cr111,

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Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 19 of 38 PageID# 922



  alleging that Defendant participated in a conspiracy with co-

  defendants to distribute and possess with intent to distribute

  controlled   substances    and   that    Defendant   used   a   firearm   in

  furtherance of a drug trafficking crime.         No. 4:17cr111, ECF No.

  180.    Defendant appeared for an arraignment and detention hearing

  on August 8, 2018.      However, those proceedings were continued to

  August 10, 2018, due to a conflict regarding court-appointed

  counsel.      Accordingly,    the   speedy   trial   seventy-day       period

  ordinarily would have begun to run the following day, August 11,

  2018.    See 18 U.S.C. § 3161(c)(1); Stoudenmire, 74 F.3d at 63

  (noting that “the day of the event that triggers the [Speedy Trial

  Act] clock . . . is not included in the calculation; the clock

  begins to run the following day”).       However, during the August 10,

  2018 proceedings, the Court found, pursuant to 18 U.S.C. § 3161(h),

  that the complexity of the case and the interest of justice

  warranted a trial date outside the seventy-day speedy trial period,

  a finding with which the parties agreed.         No. 4:17cr111, ECF No.

  234.    Trial was thus scheduled for April 30, 2019.             Id.    As a

  result, the seventy-day period was immediately tolled such that

  all seventy days remained.

         Defendant later requested in a September 20, 2018 pro se

  letter that the seventy-day period begin running on the basis that




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Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 20 of 38 PageID# 923



  the case’s complexity “ha[d] nothing to do with [him]”.14               No.

  4:17cr111, ECF No. 261.      At a November 5, 2018 hearing, however,

  the Court reaffirmed its finding that the case was complex pursuant

  to 18 U.S.C. § 3161(h)(7) and preserved the April 2019 trial date.

  No. 4:17cr111, ECF No. 277. Therefore, despite Defendant’s letter,

  the speedy trial period remained tolled.

         On March 12, 2019, the Government filed a third superseding

  indictment, adding both a new defendant and a third charge against

  Defendant for attempted witness tampering.        No. 4:17cr111, ECF No.

  314.    The addition of a defendant in the charged drug conspiracy

  had the effect of resetting Defendant’s speedy trial clock with

  respect to the two charges in the second superseding indictment.

  See Henderson, 476 U.S. at 323 n.2; Dixon, 542 F. App’x at 278.

  As such, the two original charges and the new charge were joined

  together under a single speedy trial period beginning March 13,

  2019, the day after the third superseding was filed.15            However,

  this new period was immediately tolled by the Court’s November 5,




  14 That Defendant “re-invoke[d his] speedy trial time clock” did not
  reactivate the speedy trial period.     Indeed, not only did the Court’s
  previous complexity finding remain in place, but Defendant’s filing of that
  letter, as well as the October 7, 2018 motion for new counsel, also would
  have independently tolled the speedy trial clock through the date of the
  November 5, 2018 hearing, pursuant to 18 U.S.C. § 3161(h)(1)(D) and (H).
  15 Because it appears that Defendant was never arraigned on the third
  superseding indictment before re-indictment in Case No. 4:20cr1, the Court
  uses the date of the filing of the third superseding indictment to calculate
  the new speedy trial period.

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Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 21 of 38 PageID# 924



  2018 ends-of-justice continuance grounded in the complexity of the

  case.   See Fabian, 798 F. Supp. 2d at 673.

       On March 25, 2019, the Court granted an additional continuance

  of the trial date upon the motion of co-defendant Alex Burnett,

  whose retained counsel had just entered the case and represented

  to the Court that he would be unable to review the extensive

  discovery in the case before the April 2019 trial date.                  No.

  4:17cr111, ECF Nos. 342, 343, 344.        After a status conference with

  the parties’ counsel on April 30, 2019, the Court rescheduled trial

  for January 7, 2020.        No. 4:17cr111, ECF Nos. 355, 400.           Even

  though Defendant did not request it, this continuance operated to

  further   toll   Defendant’s   speedy     trial   clock.     As   previously

  discussed, where a court grants a continuance because failure to

  do so “would deny counsel for the defendant . . . the reasonable

  time necessary for effective preparation,” the Speedy Trial Act

  excludes the resultant period of delay from the speedy trial

  period.     18 U.S.C. § 3161(h)(7)(A), (B)(iv).        The Court granted

  Burnett’s    motion   for   continuance    precisely   for   that   reason,

  resulting in a period of delay excludable under the Speedy Trial




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Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 22 of 38 PageID# 925



  Act.16     And as a co-defendant whose case had not been severed,17

  the delay arising from the continuance was also excludable as to

  Defendant.    See 18 U.S.C. § 3161(h)(6); see also Jarrell, 147 F.3d

  at   316   (stating   that   “time   excludable   for   one   defendant   is

  excludable for all defendants”).          Consequently, at the time the

  Court granted the Government’s motion to dismiss without prejudice

  the third superseding indictment in Case No. 4:17cr111 on January

  6, 2020, zero days had elapsed on Defendant’s speedy trial clock.




  16 Specifically, the Court granted the motion for continuance by docket
  entry, stating, “In light of the recent superseding indictment and the
  amount of discovery in this case, the Court grants the motion.”           No.
  4:17cr111, ECF No. 344.    Although that docket entry does not include an
  express ends-of-justice finding, the Court agreed with Burnett’s motion and
  believed that failure to grant the motion would deprive Burnett’s counsel
  “the reasonable time necessary for effective preparation,” 18 U.S.C.
  § 3161(h)(7)(B)(iv), such that “the ends of justice served by [continuing
  the case] outweigh[ed] the best interest of the public and the defendant in
  a speedy trial,” id. § 3161(h)(7)(A). See Zedner v. United States, 547 U.S.
  489, 506-07 (2006) (stating that the Speedy Trial Act requires that “findings
  must be made, if only in the judge’s mind, before granting the [ends-of-
  justice] continuance,” but that such findings may be put in the record at
  a later date provided that the judge does so “by the time the [judge] rules
  on a defendant’s motion to dismiss”); see also United States v. Keith, 42
  F.3d 234, 237 (4th Cir. 1994) (“[A] court may enter its ends of justice
  finding after it grants the continuance . . . if it is clear from the record
  that the court conducted the mandatory balancing contemporaneously with the
  granting of the continuance.”).
  17Although Defendant filed a pro se motion requesting a severance on October
  20, 2019, No. 4:17cr111, ECF No. 385, the Court struck the motion because
  Defendant was represented by counsel, No. 4:17cr111, ECF No. 390. Prior to
  that ruling, Defendant had been informed at least twice that the Court would
  entertain motions filed only by his counsel. See No. 4:17cr111, ECF Nos.
  333, 370. Moreover, Defendant’s counsel never moved for a severance, though
  he had several occasions to do so, including more than one in-person hearing.
  Cf. Medrano v. United States, No. 8:12cr14, 2017 WL 3234367, at *3 (D. Md.
  July 28, 2017) (“[C]hoosing whether to move for severance is a classic
  tactical decision properly left to counsel’s discretion.” (citing United
  States v. Chapman, 593 F.3d 365, 369 (4th Cir. 2010))).

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Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 23 of 38 PageID# 926



  As such, Defendant suffered no Speedy Trial Act violation in Case

  No. 4:17cr111.18

                                 2. Case No. 4:20cr1

        The Court further finds that there has not been a Speedy Trial

  Act   violation    when       considering       the   instant     indictment.     As

  specified above, the Government’s decision to dismiss the third

  superseding indictment against Defendant without prejudice in Case

  No. 4:17cr111 and re-indict Defendant in a stand-alone indictment

  in the present case appears to have stemmed from co-defendant Alex

  Burnett’s    decision     to    enter    into     a   plea   agreement     with   the

  Government      four   days    earlier     on    January     2,   2020.     See   No.

  4:17cr111, ECF Nos. 480, 481; see also No. 4:17cr111, ECF No. 493,

  at 2-3.     The Government filed the new indictment on January 8,

  2020,   again    charging      Defendant      with    conspiracy     to   distribute

  controlled substances, possessing a firearm in furtherance of a

  drug trafficking crime, and attempted witness tampering.                   Although



  18The Court makes two additional observations. First, Defendant’s various
  pretrial motions – both those filed by him and those filed by counsel –
  would have independently operated to toll the speedy trial period to some
  extent. See 18 U.S.C. § 3161(h)(1)(D), (H). Second, Defendant’s counsel
  never filed a motion to dismiss the indictment on the basis of a Speedy
  Trial Act violation, but even if he had and the Court found such a violation,
  that fact would not automatically entitle Defendant to a with-prejudice
  dismissal. Rather, the Court would have had to consider the factors listed
  in 18 U.S.C. § 3162(a)(2) (e.g., the seriousness of the offense, the facts
  and circumstances of the case leading to the dismissal, and the impact of
  a re-prosecution on the administration of justice) to determine whether a
  with-prejudice dismissal would have been appropriate.       And if the Court
  found that such a dismissal was not warranted and thus dismissed the case
  without prejudice, the Government would have been free to re-indict
  Defendant on the same charges with a new speedy trial clock. See United
  States v. Thomas, 705 F.2d 709, 710-11 (4th Cir. 1983).

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Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 24 of 38 PageID# 927



  the attempted witness tampering charge is identical to that alleged

  in   the   previous   indictment,   the   drug   conspiracy   and   firearm

  offenses differ from their predecessors.          More specifically, the

  drug conspiracy charged in the new indictment is more limited in

  scope, and the firearm offense charged in the new indictment

  alleges a different date and location.           Nonetheless, the Court

  assumes in Defendant’s favor that each of these three charges is

  “the same offense” alleged in the previous indictment within the

  meaning of 18 U.S.C. § 3161(h)(5) such that the speedy trial period

  as to these charges relates back to the filing date of the third

  superseding indictment in the previous case, March 13, 2019.            See

  18 U.S.C. § 3161(h)(5); Osteen, 254 F.3d at 525-26.                 Such an

  assumption, of course, has little practical effect as this speedy

  trial period remained tolled from its inception (i.e., the day

  after the filing of the third superseding indictment) through the

  arraignment on the instant indictment.       See 18 U.S.C. § 3161(h)(5)

  (stating that when the government dismisses a charge without

  prejudice and later brings the same charge, “any period of delay

  from the date the charge was dismissed to the date the time

  limitation would commence to run as to the subsequent charge had

  there been no previous charge” is excluded from the speedy trial

  period).

        The present indictment also charges three new offenses: a

  second attempted witness tampering charge, possession with intent

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Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 25 of 38 PageID# 928



  to distribute controlled substances, and obstruction of justice.

  ECF No. 1.    Because there is no indication that these new charges

  were required to be joined with any of the other offenses under

  double jeopardy principles, such additional charges receive an

  independent       speedy    trial   period.19          Again,    however,   from   a

  practical standpoint, the two separate speedy trial periods were

  essentially on equal footing.            For that reason, the Court will

  discuss them herein in a single speedy trial clock analysis.

       Defendant was arraigned on the instant indictment on January

  9, 2020, with trial set to begin on February 18, 2020.                  ECF No. 4.

  Beginning January 10, 2020, therefore, the speedy trial clock

  commenced.    But it did so for only one day as Defendant filed two

  motions   –   a    motion    to   dismiss    and   a    motion    for   grand   jury

  transcripts – on January 11, 2020 (as well as a third motion on

  January 12, 2020), tolling the speedy trial period under 18 U.S.C.

  § 3161(h)(1)(D) and (H).            ECF No. 9, 10, 11; see Dixon, 542 F.

  App’x at 278 (finding that pretrial detainee’s motion tolled speedy



  19As to the possession with intent to distribute charge, the Fourth Circuit
  has observed that “[a] substantive crime and conspiracy to commit that crime
  are   ‘separate   offenses’   for   purposes    of   the   Double   Jeopardy
  Clause . . . because an agreement to do an act is distinct from the act
  itself.” United States v. Yearwood, 518 F.3d 220, 223 (4th Cir. 2008); see
  also United States v. Felix, 503 U.S. 378, 380-81 (1992) (“[P]rosecution of
  a defendant for conspiracy, where certain of the overt acts relied upon by
  the Government are based on substantive offenses for which the defendant
  has been previously convicted, does not violate the Double Jeopardy
  Clause.”). Accordingly, to the extent, if any, the conduct supporting the
  possession with intent to distribute charge is conduct that also supports
  the original drug conspiracy charge, double jeopardy principles did not
  require the two charges to be joined together in the same indictment.

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Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 26 of 38 PageID# 929



  trial clock beginning on the day the defendant delivered the motion

  to prison authorities for mailing rather than the day on which the

  court received it (citing Houston v. Lack, 487 U.S. 266, 276

  (1988)).    On January 16, 2020, the Court struck those motions

  because Defendant was represented by counsel.           ECF No. 16.       The

  speedy trial clock resumed the following day and continued to run

  until January 22, 2020, when Mr. Carroll moved to withdraw as

  counsel – a total of five days.          ECF No. 20.    The Court held a

  hearing on and disposed of that motion on January 30, 2020;

  therefore, the speedy trial clock was tolled through that date.

  ECF No. 35; see 18 U.S.C. § 3161(h)(1)(D).

       At the hearing, the Court granted Mr. Carroll’s motion to

  withdraw   and   appointed   Mr.   Hallauer    as   Defendant’s    counsel.

  Because trial was scheduled to begin on February 18, 2020, less

  than three weeks away, Mr. Hallauer moved for a continuance.              ECF

  No. 35.    The Government, the Court, and Defendant agreed that a

  continuance was necessary to allow Mr. Hallauer adequate time to

  prepare for trial, so the Court granted the continuance.            Id.    In

  doing so, the Court determined that “the ends of justice served by

  the granting of such continuance outweigh[ed] the best interests

  of the public and the defendant in a speedy trial.”               18 U.S.C.

  § 3161(h)(7)(A); see id. § 3161(h)(7)(B)(iv) (permitting ends-of-

  justice continuance where failure to grant continuance “would deny

  counsel for the defendant . . . the reasonable time necessary for

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Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 27 of 38 PageID# 930



  effective preparation, taking into account the exercise of due

  diligence”).     Accordingly, the continuance was excludable under

  the Speedy Trial Act and Defendant’s speedy trial clock remained

  tolled.     See Zedner, 547 U.S. at 506-07; see also       Keith, 42 F.3d

  at 240 (holding that “if a defendant affirmatively consents to a

  motion for a continuance and the reasons for the granting of that

  motion as garnered from the record are sufficient to support a

  finding that the ends of justice would be met by granting the

  motion, the defendant cannot take advantage of that discrete period

  of time covered by the continuance in asserting a violation of the

  Speedy Trial Act”).

       The parties agreed to a new trial date of May 12, 2020.             On

  March 13, 2020, however, all criminal trials in this District were

  suspended for approximately one month as a result of the COVID-19

  pandemic.    ECF No. 96; see No. 2:20mc7, ECF No. 2.       The Court made

  an ends-of-justice finding that such delay was excludable under

  the Speedy Trial Act.      No. 2:20mc7, ECF No. 6.        As the pandemic

  progressed, the Court issued additional Orders, each with an

  accompanying ends-of-justice finding, that ultimately suspended

  all criminal jury trials through September 14, 2020.         No. 2:20mc7,




                                      27
Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 28 of 38 PageID# 931



  ECF Nos. 12, 16, 20.         Accordingly, such period of delay was

  excluded from Defendant’s speedy trial clock.20

       The     Court   rescheduled     trial    for    October    6,    2020.

  Unfortunately, due to the unforeseen COVID-19 outbreak at WTRJ,

  the need for the pro se Defendant to review discovery, and the

  limited number of COVID-19 retrofitted courtrooms available, the

  Court rescheduled trial for January 4, 2021.         ECF No. 96.     As the

  Court then noted,

       Defendant was assigned one of the earliest trial dates
       after criminal trials were resumed in this District, and
       the Court took all steps practicable to preserve such
       trial date. . . . Through no fault of Defendant,
       counsel for the Government, standby counsel, or anyone
       else involved in this case, proceeding to trial on
       October 6, 2020, is simply not possible due to the COVID-
       19 outbreak at Defendant’s jail and the associated
       lockdown.

  Id. at 12.     The Court thus concluded that the “ends of justice

  served by [continuing the trial date until January 4, 2021,]

  outweigh[ed] the best interest of the public and the Defendant in




  20 Defendant also filed several motions during this period, including a
  motion to proceed pro se, all of which would have otherwise had the effect
  of tolling Defendant’s speedy trial clock, and to no insignificant extent.
  See 18 U.S.C. § 3161(h)(1)(D), (H). The same holds true with respect to
  Defendant’s more recent filings. The Court wishes to stress to the pro se
  Defendant that although he is free to file pretrial motions, each motion he
  chooses to file may result in additional excludable time under the Speedy
  Trial Act.

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Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 29 of 38 PageID# 932



  a speedy trial.”21       Id. at 13 (first alteration in original)

  (quoting 18 U.S.C. § 3161(h)(7)(A)).                Consequently, Defendant’s

  speedy trial clock remains tolled to this date and will continue

  to toll through the currently scheduled January 4, 2021 trial date.

         In summation, only six days have elapsed under the statutory

  speedy     trial    period(s)         governing        Defendant’s         charges.

  Consequently, there has been no violation of the Speedy Trial Act,

  and the Court DENIES the Motion on that basis.

                      B. Sixth Amendment Speedy Trial

         Turning to the constitutional right to a speedy trial, the

  Sixth Amendment guarantees that “[i]n all criminal prosecutions,

  the accused shall enjoy the right to a speedy and public trial.”

  U.S.   Const.   amend   VI.        Unlike    the    Speedy   Trial    Act,   which

  establishes definite time periods, the Sixth Amendment right to a

  speedy trial cannot be “quantified into a specified number of days

  or   months.”      Barker     v.    Wingo,    407    U.S.    514,    523   (1972).



  21 In doing so, the Court recognized that “‘ends of justice’ continuances
  cannot be predicated on ‘general congestion of the court’s calendar.’” ECF
  No. 96, at 13 (quoting 18 U.S.C. § 3161(h)(7)(C)).       But the Court was
  explicit that such continuance was “not predicated on ‘general congestion’
  of the court’s calendar and/or the unavailability of the assigned trial
  judge due to a rigorous case schedule.” Id. Rather, the continuance was
  “necessitated by the fact that the nationwide pandemic has eliminated this
  Court’s ability to safely conduct any more than three simultaneous jury
  trials in the region containing the geographically contiguous Newport News
  and Norfolk Divisions of this Court.” Id. at 13-14. “Attempting to try
  the case at an earlier time using a courtroom and/or jury room that does
  not permit jurors to stay at least six feet apart,” the Court continued,
  “would itself result in a miscarriage of justice as jurors’ fears for their
  safety would prevent them from devoting their full attention to the case
  and would encourage them to rush to judgment rather than give Defendant the
  fair public trial required by the United States Constitution.” Id. at 14.

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Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 30 of 38 PageID# 933



  Accordingly, the Supreme Court has declined invitations to define

  with precision the contours of this right, warning that it “would

  require   th[e]   Court    to   engage    in    legislative   or   rulemaking

  activity, rather than in the adjudicative process to which we

  should confine our efforts.”             Id.     That being said, multiple

  circuit courts have observed that “[i]t will be the unusual case

  . . . where the time limits under the Speedy Trial Act have been

  satisfied but the right to a speedy trial under the Sixth Amendment

  has been violated.”       United States v. Bieganowski, 313 F.3d 264,

  284 (1st Cir. 2002); accord United States v. Davenport, 935 F.2d

  1223, 1238-39 (11th Cir. 1991).

       To guide courts’ assessments of Sixth Amendment speedy trial

  claims, the Supreme Court has set forth a four-factor balancing

  test for determining whether the Sixth Amendment’s guarantee to a

  speedy trial has been denied: “(1) whether the delay was uncommonly

  long; (2) what the reason was for the delay; (3) whether the

  defendant asserted his right to a speedy trial; and (4) whether

  prejudice resulted to the defendant.”             Shealey, 641 F.3d at 634

  (citing Barker, 407 U.S. at 530).              If, after weighing the above

  factors, a court determines that a defendant’s constitutional

  right to a speedy trial has been violated, the sole remedy is a

  with-prejudice dismissal.       United States v. Toombs, 574 F.3d 1262,

  1274 (10th Cir. 2009) (citing Barker, 407 U.S. at 522); United




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Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 31 of 38 PageID# 934



  States v. Bilsky, 664 F.2d 613, 617 (6th Cir. 1981) (citing Strunk

  v. United States, 412 U.S. 434 (1973)).

         A review of the four factors in this case leads to the

  conclusion that Defendant’s Sixth Amendment right to a speedy trial

  has not been violated.       The first factor, “whether the delay was

  uncommonly long,” serves as “a threshold requirement because the

  defendant must establish that the length of the delay is at least

  presumptively prejudicial” in order to warrant consideration of

  the other three factors.       United States v. Burgess, 684 F.3d 445,

  451 (4th Cir. 2012) (citing Doggett v. United States, 505 U.S.

  647,    651-52   (1992)).     “The     Supreme    Court   has    observed   that

  ‘postaccusation delay [is] presumptively prejudicial at least as

  it approaches one year.’”           Id. (alteration in original) (quoting

  Doggett, 505 U.S. at 652 n.1).          In this case, Defendant will have

  experienced a delay of more than two years (approximately twenty-

  nine months) by the time he stands trial (assuming the current

  trial date of January 4, 2021), well over the one-year period that

  is presumed prejudicial.       See United States v. Hall, 551 F.3d 257,

  272 (4th Cir. 2009) (finding that a pretrial delay of two years in

  drug    conspiracy    prosecution     warranted    a   further    speedy    trial

  analysis).       As to the third factor, Defendant, to his credit,

  indicated fairly early on that he desired a speedy trial, although

  such request was not properly advanced through counsel and, at

  least    initially,    may   have    conflicted    with   defense    counsel’s

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Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 32 of 38 PageID# 935



  wishes.   Consequently, the first and third factors appear to favor

  Defendant.

         However, the Court is persuaded that the other Barker factors

  – the reasons for the delay and resulting prejudice to Defendant

  - weigh heavily against a finding of a constitutional violation.

  Critically, for the first seventeen months, Defendant was named in

  successive multi-defendant indictments alleging a years-long drug

  conspiracy and involving roughly three terabytes of electronic

  discovery.    See id. (finding that two-year delay was justified in

  drug   conspiracy   case   where    “the   prosecution    was   complicated,

  involving a serious, complex conspiracy charge that implicated

  multiple parties”).     While a great deal of the discovery related

  to other defendants, and the case was at one point continued on

  the motion of one such defendant to permit his attorney sufficient

  time to review that discovery, the Court is mindful of “the well-

  established principle that defendants who are charged in the same

  criminal conspiracy should be tried together.”           Reavis, 48 F.3d at

  767.    Furthermore, despite Defendant’s claims to the contrary,

  there is simply no evidence that the Government deliberately

  delayed the trial for any improper purpose, such as to harass

  Defendant or hinder his defense. Indeed, the Government’s decision

  to dismiss the indictment and then re-indict Defendant came as co-

  defendant    Alex   Burnett   (in    addition    to   several    other   co-

  defendants) reached a plea agreement with the Government and

                                       32
Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 33 of 38 PageID# 936



  reportedly    provided    to   the   Government    both    incriminating    and

  exculpatory information or evidence regarding Defendant.

        After re-indictment in the instant case, Defendant’s trial

  would have occurred as early as February 2020 (approximately

  eighteen months from the time he was arraigned on the second

  superseding indictment in Case No. 4:17cr111) but for the discovery

  of an attorney conflict that required the appointment of new

  counsel.     The onset of the COVID-19 pandemic and its impact on

  court operations, which affected all criminal defendants, as well

  as the unpredictable WTRJ COVID-19 lockdown further extended the

  delay by several additional months.            While Defendant is certainly

  not to blame for these events, neither is the Government.                  See

  United States v. Brown, No. 1:19cr146, 2020 WL 5338441, at *4 (D.

  Md. Sept. 4, 2020) (finding no Sixth Amendment speedy trial

  violation despite delay in trial due to the COVID-19 pandemic);

  see also United States v. Arthur, No. 8:17cr253, 2020 WL 3073322,

  *7   (D.   Md.   June    10,   2020)   (“The    delay     caused   by   exigent

  circumstances created by the COVID-19 pandemic cannot be weighed

  against the Government.”). The reasons for the delay in each case,

  whether considered individually or collectively, do not support a

  finding of a constitutional speedy trial violation.

        Moreover, even in the absence of one or more of the above-

  described events that resulted in the delay of Defendant’s trial,

  it is doubtful that Defendant would have received an expeditious

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Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 34 of 38 PageID# 937



  trial given his own pretrial conduct.              Indeed, throughout the

  course of both cases (4:17cr111 and 4:20cr1), Defendant, while

  represented by counsel, filed numerous pro se motions, including

  motions challenging the performance of his lawyers and motions to

  proceed pro se that resulted in multiple in-court hearings.            Such

  conduct prompted three of the four attorneys appointed to represent

  Defendant over the course of these proceedings to file one or more

  motions to withdraw as counsel.22          In doing so, each attorney

  reported a breakdown in communication with Defendant to the point

  of a total refusal by Defendant to meet with such counsel to

  discuss the case and/or review discovery materials.           See ECF No.

  51; No. 4:17cr111, ECF Nos. 264, 339, 383.           In fact, even now as

  Defendant proceeds pro se with standby counsel assigned in order

  to facilitate Defendant’s review of protected discovery materials,

  the Court has before it a motion by Mr. Hallauer to withdraw as

  standby   counsel    at   Defendant’s    urging,    further   jeopardizing

  Defendant’s ability to review all protected discovery materials

  before trial.    See ECF No. 109 (“The Defendant sent correspondence

  to Stand By Counsel on October 27, 2020 demanding Stand By Counsel

  submit a Motion to Withdraw and refusing to meet with or speak

  with Counsel any further.”).          Further, since assuming pro se

  status, Defendant has persisted in his extensive motion practice,



  22The remaining attorney, Mr. Quick, withdrew shortly after his appointment
  in light of a conflict.

                                      34
Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 35 of 38 PageID# 938



  necessitating the Court’s time and consideration.                      Consequently,

  regardless of the complexity of the original case, the attorney

  conflict, and the current pandemic, Defendant’s own conduct has

  greatly   complicated      pretrial    proceedings         such      that   Defendant

  likely would not have proceeded to trial without significant

  delays.

       Finally, Defendant has failed to demonstrate any prejudice

  resulting from the above-described delay.              Indeed, there has been

  no showing “that any evidence [has been or will be] damaged or

  lost, that any witnesses [cannot now or will not] be found, or

  that his case [has been or will be] harmed in any manner by the

  delay.”    United States v. Hopkins, 310 F.3d 145, 150 (4th Cir.

  2002).

       On balance, the Barker factors do not support a finding of a

  Sixth Amendment speedy trial violation.               Accordingly, the Court

  DENIES Defendant’s Motion with respect to his Sixth Amendment

  claim.

                             C. Unnecessary Delay

       Defendant     also     moves     to    dismiss        the       indictment   for

  unnecessary    delay    under     Federal    Rule     of    Criminal        Procedure

  48(b)(3), which provides that a “court may dismiss an indictment

  . . . if unnecessary delay occurs in . . . bringing a defendant to

  trial.”   Fed. R. Crim. P. 48(b)(3).            Notably, Rule 48(b) imposes

  no   requirement    that    the     defendant    suffer          a    constitutional

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Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 36 of 38 PageID# 939



  violation to claim relief.           See United States v. Goodson, 204 F.3d

  508, 513 (4th Cir. 2000) (observing that Rule 48(b) “not only

  allows a court to dismiss an indictment on constitutional grounds,

  but it also restates the court’s inherent power to dismiss an

  indictment for lack of prosecution where the delay is not of a

  constitutional        magnitude”     (citation       omitted)).        However,    the

  decision to dismiss an indictment on this ground is one committed

  to the sound discretion of the district court.                      United States v.

  Ball, 438 F. Supp. 3d 656, 662 (E.D. Va. 2020); see also United

  States v. Butler, 792 F.2d 1528, 1533 (11th Cir. 1986) (“[Rule

  48(b)] vests much discretion in the trial court, and dismissal is

  mandatory only if the defendant’s constitutional rights have been

  violated.”).

        Although there has been considerable delay in this case, as

  detailed above, such delay results from a combination of multiple

  divergent factors, i.e., the complexity of the case, repeated

  communication        issues       between        Defendant    and     counsel,     and

  unpredictable events, including a last minute attorney conflict as

  well as the COVID-19 pandemic and the associated WTRJ COVID-19

  outbreak.      The Court does not deem such delay so “unnecessary” as

  to   warrant    a    dismissal     of   the      indictment   under     Rule   48(b).

  Accordingly,        the   Court   DENIES      Defendant’s     Motion    for    a   Rule

  48(b)(3) dismissal.




                                              36
Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 37 of 38 PageID# 940



              D. Judicial Estoppel and “No Injured Party”

       Finally, Defendant seeks dismissal based on the principle of

  judicial estoppel and a claim that there “is no injured party.”

  ECF No. 69, at 1-4.        Neither contention has merit.         “Judicial

  estoppel precludes a party from adopting a position that is

  inconsistent with a stance taken in prior litigation.          The purpose

  of the doctrine is to prevent a party from playing fast and loose

  with the courts, and to protect the essential integrity of the

  judicial process.”     John S. Clark Co. v. Faggert & Frieden, P.C.,

  65 F.3d 26, 28-29 (4th Cir. 1995) (citation and internal quotation

  marks omitted).       Defendant fails to demonstrate how judicial

  estoppel is applicable here as he has not identified any position

  now asserted by the Government that is somehow inconsistent with

  one of its previous positions, either in this case or the previous

  case.   The Motion on that ground is therefore DENIED.

       With respect to Defendant’s claim that the indictment must be

  dismissed because there is “no injured party,” the charged crimes

  constitute “offenses against the United States” and are thus

  clearly subject to prosecution.          28 U.S.C. § 547(1); see United

  States v. Simpson, No. 1:14cr265, 2015 WL 5579561, at *2 (D. Colo.

  Sept. 22, 2015) (rejecting “no injured party” argument); United

  States v. Burnett, No. 3:14cr173, 2015 WL 1906026, *2 (M.D. Tenn.

  Apr. 20, 2015) (same).      Accordingly, the Court DENIES the Motion

  on this ground as well.

                                      37
Case 4:20-cr-00001-MSD-LRL Document 114 Filed 11/09/20 Page 38 of 38 PageID# 941



                                  III. CONCLUSION

       For the foregoing reasons, Defendant’s “Motion to Dismiss

  No. 2” is DENIED.     ECF No. 69.

       The Clerk is DIRECTED to forward a copy of this Opinion and

  Order to Defendant, standby counsel, and counsel for the United

  States.

       IT IS SO ORDERED.



                                                      /s/
                                                 Mark S. Davis
                                      CHIEF UNITED STATES DISTRICT JUDGE
  Norfolk, Virginia
  November ____,
             9   2020




                                      38
